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                                           APL CO. PTE LTD
                                       7
                                       8                         UNITED STATES DISTRICT COURT
                                       9                        CENTRAL DISTRICT OF CALIFORNIA
                                      10
                                      11   APL CO. PTE LTD                                 CASE NO.
Gordon Rees Scully Mansukhani, LLP




                                      12                              Plaintiff,           PLAINTIFF APL CO. PTE
      5 Park Plaza, Suite 1100




                                                                                           LTD’S COMPLAINT
                                      13         vs.
         Irvine, CA 92614




                                      14   TDR LOGISTICS INC.; ANDPLASTIC
                                           TRADE LTD.; and ANDPLASTIC
                                      15   TRADE CO., LTD.
                                      16                              Defendants.
                                      17
                                                 COMES NOW Plaintiff, APL CO. PTE LTD (“APL”), and its Complaint
                                      18
                                           and causes of action against Defendant TDR LOGISTICS INC. (“TDR”),
                                      19
                                           ANDPLASTIC TRADE LTD. (“ANDPLASTIC”), and ANDPLASTIC TRADE
                                      20
                                           CO., LTD. (“ANDPLASTIC CO.”) alleges as follows:
                                      21
                                                                      JURISDICTION AND VENUE
                                      22
                                                 1.     This is a maritime claim for breach of contract and unpaid detention,
                                      23
                                           demurrage, destruction and/or other costs pursuant to ocean bills of lading and an
                                      24
                                           ocean carrier's tariff and comprises an admiralty and maritime claim pursuant to
                                      25
                                           Rule 9(h) of the Federal Rules of Civil Procedure and 28 U.S.C. § 1333(1). It also
                                      26
                                           presents a federal question under 28 U.S.C. § 1331 in that it arises under the
                                      27
                                           Shipping Act of 1984, as amended, 46 U.S.C. §§ 40101 et seq.
                                      28
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                                                                     PLAINTIFF APL CO. PTE LTD’S COMPLAINT
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                                       1         2.     In the alternative, as there is complete diversity between APL on one
                                       2   hand, and TDR, ANDPLASTIC and ANDPLASTIC CO. on the other hand, and
                                       3   the amount in controversy exceeds jurisdictional amount set by 28 U.S.C. § 1332,
                                       4   the prerequisites for diversity jurisdiction under 28 U.S.C. § 1441(b) are met and
                                       5   this Court is vested with subject matter jurisdiction over this action.
                                       6         3.     Venue is proper in this Court under 28 U.S.C. § 1391(b)(2) and (3) in
                                       7   that a substantial part of the events or omissions giving rise to the claim occurred
                                       8   within this district, and TDR is a resident of this state within the meaning of 28
                                       9   U.S.C. § 1391(c)(2), with its principal place of business within the judicial district
                                      10   of this Court and there is no other district in which an action may otherwise be
                                      11   brought. Venue is also proper in this Court as it is the contractually agreed upon
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                                      12   forum pursuant to the operative ocean bills of lading.
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                                      13                                         PARTIES
         Irvine, CA 92614




                                      14         4.     Plaintiff APL is now, and at all material times was, a foreign
                                      15   corporation duly organized and existing under the laws of Singapore, with a
                                      16   principal place of business 9 North Buona Vista Drive #14-01, The Metropolis
                                      17   Tower 1, Singapore, 138588. APL was, and is, an ocean carrier and common
                                      18   carrier of goods for hire on ocean-going vessels between United States ports and
                                      19   foreign ports.
                                      20         5.     Defendant TDR LOGISTICS, INC. is now, and at all material times
                                      21   was, a corporation organized and existing under the laws of California, with its
                                      22   principal place of business at 21671 Gateway Ctr. Dr., Ste 110, Diamond Bar, CA
                                      23   91765.
                                      24         6.     Defendant ANDPLASTIC TRADE LTD. is now, and at all material
                                      25   times was, a corporation organized and existing under the laws of the Marshal
                                      26   Islands, with its principal place of business at Trust Company Complex, Ajeltake
                                      27   Rd, Ajeltake Island Majuro Republic of the Marshal Islands 96960.
                                      28
                                                                                     -2-
                                                                    PLAINTIFF APL CO. PTE LTD’S COMPLAINT
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                                       1         7.       Defendant ANDPLASTIC TRADE CO. LTD. is now, and at all
                                       2   material times was, a corporation organized and existing under the laws of Hong
                                       3   Kong, with its principal place of business at Trend Centre, 29-31 Cheung Lee
                                       4   Street, Chai Wan, Hong Kong.
                                       5         8.       APL alleges that there may be additional entities or individuals that
                                       6   may be responsible in some manner for the occurrences and injuries alleged in this
                                       7   Complaint. Their names and capacities are currently unknown to APL at this time.
                                       8   APL will amend this Complaint to add such additional parties when the same have
                                       9   been ascertained. APL is informed, believes and thereon alleges that each
                                      10   additional entity or individual is liable for the acts and/or omissions as set forth
                                      11   below, and that APL’s rights against such additional entity or individual arises
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                                      12   from such acts and/or omissions.
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                                      13                               FACTUAL BACKGROUND
         Irvine, CA 92614




                                      14         9.       Between May and August 2019, ANDPLASTIC and ANDPLASTIC
                                      15   CO. contracted with TDR for the shipment of eighty-five (85) containers
                                      16   (“Containers”) of plastic scrap cargo from various ports of loading to Jakarta,
                                      17   Indonesia.
                                      18         10.      TDR subsequently contracted with APL for the carriage of the
                                      19   Containers under thirty-seven (37) APL Bills of Lading as follows:
                                      20                 i.     APL Bill of Lading AVB0100146 dated May 4, 2019, with
                                      21                        container nos. TCLU1505422, BMOU4012110, and
                                      22                        CMAU4341099 aboard the M/V Jamila from San Juan, Puerto
                                      23                        Rico to Jakarta, Indonesia (“Shipment 1”);
                                      24                ii.     APL Bill of Lading AYU0212485 dated May 18, 2019, with
                                      25                        container no. TEMU6456077 aboard the M/V Ever Lucid from
                                      26                        Baltimore, Maryland to Jakarta, Indonesia (“Shipment 2”);
                                      27               iii.     APL Bill of Lading AYU0221035 dated May 22, 2019, with
                                      28                        container nos. TGHU9100230, APHU6307602, and
                                                                                   -3-
                                                                     PLAINTIFF APL CO. PTE LTD’S COMPLAINT
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                                       1                    CMAU4708420 aboard the M/V Ever Lambent from Boston,
                                       2                    Massachusetts to Jakarta, Indonesia (“Shipment 3”);
                                       3            iv.     APL Bill of Lading AYU0221031 dated May 26, 2019, with
                                       4                    container no. CMAU4110696 aboard the M/V Triton from
                                       5                    Baltimore, Maryland to Jakarta, Indonesia (“Shipment 4”);
                                       6            v.      APL Bill of Lading AYU0221100 dated May 29, 2019, with
                                       7                    container nos. GVCU5002338, CMAU4734080,
                                       8                    BEAU4062517, and TGHU6096590 shipped aboard the M/V
                                       9                    CMA CGM Libra from New York, New York to Jakarta,
                                      10                    Indonesia (“Shipment 5”);
                                      11            vi.     APL Bill of Lading AYU0221069 dated May 30, 2019, with
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                                      12                    container no. ECMU9734018 shipped aboard the M/V CMA
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                                      13                    CGM Tancredi from Miami, Florida to Jakarta, Indonesia
         Irvine, CA 92614




                                      14                    (“Shipment 6”);
                                      15           vii.     APL Bill of Lading AYU0221052 dated May 31, 2019, with
                                      16                    container no. CMAU7704578 shipped aboard the M/V CMA
                                      17                    CGM Libra from Columbus, Ohio to Jakarta, Indonesia via the
                                      18                    port of Norfolk, Virgina (“Shipment 7”);
                                      19          viii.     APL Bill of Lading AYU0221062 dated June 2, 2019, with
                                      20                    container nos. TLLU4394568 and GESU6817230 shipped
                                      21                    aboard the M/V CMA CGM Tancredi from Jacksonville,
                                      22                    Florida to Jakarta, Indonesia (“Shipment 8”);
                                      23            ix.     APL Bill of Lading AYU0221029 dated June 3, 2019, with
                                      24                    container nos. ECMU9452668, BMOU4524646, and
                                      25                    TRLU6652430 aboard the M/V CMA CGM Libra from Atlanta,
                                      26                    Georgia to Jakarta, Indonesia via the port of Savannah, Georgia
                                      27                    (“Shipment 9”);
                                      28
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                                                                PLAINTIFF APL CO. PTE LTD’S COMPLAINT
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                                       1             x.     APL Bill of Lading AYU0221063 dated June 4, 2019, with
                                       2                    container nos. CRSU9303154 and GESU5857222 shipped
                                       3                    aboard the M/V CMA CGM Libra from Memphis, Tennessee to
                                       4                    Jakarta, Indonesia via the port in Charleston, South Carolina
                                       5                    (“Shipment 10”);
                                       6            xi.     APL Bill of Lading AYU0221101 dated June 5, 2019, with
                                       7                    container no. TRLU7289612 shipped aboard the M/V APL
                                       8                    Miami from New York, New York to Jakarta, Indonesia
                                       9                    (“Shipment 11”);
                                      10           xii.     APL Bill of Lading AYU0221036 dated June 5, 2019, with
                                      11                    container nos. CMAU4822113, TGHU9842619, and
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                                      12                    TLLU4344762 aboard the M/V Ever Laurel from Boston,
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                                      13                    Massachusetts to Jakarta, Indonesia (“Shipment 12”);
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                                      14          xiii.     APL Bill of Lading AYU0221034 dated June 5, 2019, with
                                      15                    container nos. CMAU5650214 and CMAU6293169 aboard the
                                      16                    M/V Ever Laurel from Boston, Massachusetts to Jakarta,
                                      17                    Indonesia (“Shipment 13”)
                                      18           xiv.     APL Bill of Lading No. AYU0221106 dated June 10, 2019,
                                      19                    with container nos. CMAU5318600, TCNU4145203,
                                      20                    BEAU4125148, APHU6510564, and SEGU6077101 aboard the
                                      21                    M/V APL Miami from Savannah, Georgia to Jakarta, Indonesia
                                      22                    (“Shipment 14”);
                                      23           xv.      APL Bill of Lading No. AYU0221030 dated June 10, 2019,
                                      24                    with container no. GESU6470182 aboard the M/V APL Miami
                                      25                    from Atlanta, Georgia to Jakarta, Indonesia via the port of
                                      26                    Savannah, Georgia (“Shipment 15”);
                                      27           xvi.     APL Bill of Lading AYU0221056A dated June 11, 2019, with
                                      28                    container no. ECMU9944020 shipped aboard the M/V CMA
                                                                              -5-
                                                                PLAINTIFF APL CO. PTE LTD’S COMPLAINT
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                                       1                    CGM Amazon from Dallas, Texas to Jakarta, Indonesia via the
                                       2                    port of Los Angeles, California (“Shipment 16”);
                                       3          xvii.     APL Bill of Lading AYU0230222 dated June 13, 2019, with
                                       4                    container nos. CRSU9368915 and ECMU9937205 shipped
                                       5                    aboard the M/V Ever Lasting from New York, New York to
                                       6                    Jakarta, Indonesia (“Shipment 17”);
                                       7         xviii.     APL Bill of Lading AVB0100243 dated June 15, 2019, with
                                       8                    container nos. CMAU4530852, APHU7125794,
                                       9                    CAIU9669719, ECMU9695098, TGHU8728176,
                                      10                    APHU6568864, and GESU6194757 aboard the M/V Allegro N
                                      11                    from San Juan, Puerto Rico to Jakarta, Indonesia
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                                      12                    (“Shipment 18”);
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                                      13           xix.     APL Bill of Lading AYU0240068 dated June 15, 2019, with
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                                      14                    container nos. ECMU9512279, CMAU5313569, and
                                      15                    TRLU7078878 shipped aboard the M/V CMA CGM Dalila
                                      16                    from Miami, Florida to Jakarta, Indonesia (“Shipment 19”);
                                      17           xx.      APL Bill of Lading AYU0221056B dated June 17, 2019, with
                                      18                    container nos. CAIU9309137 and APHU6402385 shipped
                                      19                    aboard the M/V APL Mexico City from Dallas, Texas to Jakarta,
                                      20                    Indonesia via the port of Los Angeles, California
                                      21                    (“Shipment 20”);
                                      22           xxi.     APL Bill of Lading AYU0234695 dated June 19, 2019, with
                                      23                    container nos. TLLU4333794 and FCIU9217785 shipped
                                      24                    aboard the M/V CMA CGM Thalassa from New York, New
                                      25                    York to Jakarta, Indonesia (“Shipment 21”);
                                      26          xxii.     APL Bill of Lading AYU0230202 dated June 19, 2019, with
                                      27                    container nos. TCNU6634538, TLLU4318892, TCNU1163939,
                                      28                    ECMU9539900, APHU6922279, and TCLU6454781 aboard
                                                                           -6-
                                                                PLAINTIFF APL CO. PTE LTD’S COMPLAINT
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                                       1                    the M/V CMA CGM Elbe from Charleston, South Carolina to
                                       2                    Jakarta, Indonesia (“Shipment 22”);
                                       3         xxiii.     APL Bill of Lading AYU0230200A dated June 20, 2019, with
                                       4                    container nos. TGHU6279923, CMAU4304515,
                                       5                    CAIU9413331, and CMAU7912503 aboard the M/V Ever
                                       6                    Legion from Baltimore, Maryland to Jakarta, Indonesia
                                       7                    (“Shipment 23”);
                                       8         xxiv.      APL Bill of Lading AYU0230200B dated June 20, 2019, with
                                       9                    container no. CMAU6321770 aboard the M/V Ever Legion
                                      10                    from Baltimore, Maryland to Jakarta, Indonesia
                                      11                    (“Shipment 24”);
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                                      12          xxv.      APL Bill of Lading AYU0230201 dated June 20, 2019, with
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                                      13                    container no. TCNU5374225 aboard the M/V Ever Leader from
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                                      14                    Boston, Massachusetts to Jakarta, Indonesia (“Shipment 25”);
                                      15         xxvi.      APL Bill of Lading AYU0230216 dated June 21, 2019, with
                                      16                    container nos. CMAU4259144, CAIU8083148, and
                                      17                    BEAU4156848 aboard the M/V CMA CGM Elbe from
                                      18                    Memphis, Tennessee to Jakarta, Indonesia via the port of
                                      19                    Charleston, South Carolina (“Shipment 26”);
                                      20         xxvii.     APL Bill of Lading AYU0234689 dated June 26, 2019, with
                                      21                    container nos. TCLU1872264, TCKU6264439, and
                                      22                    APHU7391623 shipped aboard the M/V Ever Lasting from
                                      23                    Baltimore, Maryland to Jakarta, Indonesia (“Shipment 27”);
                                      24        xxviii.     APL Bill of Lading AYU0230211 dated June 27, 2019, with
                                      25                    container nos. ECMU9866523 and TCNU8460435 aboard the
                                      26                    M/V APL Yangshan from Dallas, Texas to Jakarta, Indonesia
                                      27                    via the port of Los Angeles, California (“Shipment 28”);
                                      28
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                                                                PLAINTIFF APL CO. PTE LTD’S COMPLAINT
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                                       1         xxix.      APL Bill of Lading AYU0239079 dated June 28, 2019, with
                                       2                    container no. FCIU8111839 aboard the M/V CMA CGM
                                       3                    Cendrillon from Tampa, Florida to Jakarta, Indonesia
                                       4                    (“Shipment 29”);
                                       5          xxx.      APL Bill of Lading AYU0239069 dated July 4, 2019, with
                                       6                    container nos. BEAU4083171, BEAU4769808,
                                       7                    TGHU9509721, TGHU9740788, and CMAU5357660 shipped
                                       8                    aboard the M/V Ever Loyal from Baltimore, Maryland to
                                       9                    Jakarta, Indonesia (“Shipment 30”);
                                      10         xxxi.      APL Bill of Lading AYU0221032A dated July 10, 2019, with
                                      11                    container no. APHU6846374 aboard the M/V Ever Learned
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                                      12                    from Baltimore, Maryland to Jakarta, Indonesia
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                                      13                    (“Shipment 31”);
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                                      14         xxxii.     APL Bill of Lading AYU0221032B dated July 10, 2019, with
                                      15                    container no. TRLU7512813 aboard the M/V Ever Learned
                                      16                    from Baltimore, Maryland to Jakarta, Indonesia
                                      17                    (“Shipment 32”);
                                      18        xxxiii.     APL Bill of Lading AYU0239078A dated July 11, 2019, with
                                      19                    container no. CMAU5251997 aboard the M/V CMA CGM
                                      20                    Fidelio from Dallas, Texas to Jakarta, Indonesia via the Port of
                                      21                    Los Angeles, California (“Shipment 33”);
                                      22        xxxiv.      APL Bill of Lading AYU0239078B dated July 11, 2019, with
                                      23                    container no. CMAU6312401 aboard the M/V CMA CGM
                                      24                    Fidelio from Dallas, Texas to Jakarta, Indonesia via the Port of
                                      25                    Los Angeles, California (“Shipment 34”);
                                      26         xxxv.      APL Bill of Lading AYU0239074 dated July 11, 2019, with
                                      27                    container no. BHCU4911689 aboard the M/V CMA CGM
                                      28
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                                                                PLAINTIFF APL CO. PTE LTD’S COMPLAINT
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                                       1                        Fidelio from Chicago, Illinois to Jakarta, Indonesia via the Port
                                       2                        of Los Angeles, California (“Shipment 35”);
                                       3         xxxvi.         APL Bill of Lading AYU0248200 dated July 20, 2019, with
                                       4                        container nos. TGBU5430490, TCLU9588167, and
                                       5                        TCNU7925707 shipped aboard the M/V Ever Lotus from
                                       6                        Baltimore, Maryland to Jakarta, Indonesia (“Shipment 6”); and
                                       7         xxxvii.        APL Bill of Lading AYU0221042 dated August 7, 2019, with
                                       8                        container no. TCNU5737233 shipped aboard the M/V CMA
                                       9                        CGM Libra from Chicago, Illinois to Jakarta, Indonesia via the
                                      10                        port of Los Angeles, CA (“Shipment 37”).
                                      11         11.       APL carried the Containers for Shipments 1 through 37 to Jakarta,
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                                      12   Indonesia pursuant to the terms and conditions of the relevant APL Bills of Lading.
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                                      13         12.    At all material times, TDR, ANDPLASTIC, and ANDPLASTIC CO.
         Irvine, CA 92614




                                      14   were the named shippers under the APL Bills of Lading, and thus they all qualify
                                      15   as a “Merchant” under Clause 1 of the Standard Terms and Conditions of the APL
                                      16   Bills of Lading.
                                      17         13.    TDR, ANDPLASTIC, and ANDPLASTIC CO. were the entities for
                                      18   whose account the transportation services were provided by APL, were the parties
                                      19   that received and benefitted from the transportation services provided by APL, and
                                      20   were the entities responsible for payment of charges relating to the Containers.
                                      21         14.    TDR, ANDPLASTIC, and ANDPLASTIC CO. tendered the
                                      22   Containers for Shipments 1 through 37 to APL for transportation to for which
                                      23   freight and other charges were lawfully incurred pursuant to the terms of the APL
                                      24   Bills of Lading and/or applicable tariff(s).
                                      25         15.    APL’s Bill of Lading Standard Terms and Conditions (as applicable to
                                      26   the relevant APL Bills of Lading) provides the following:
                                      27               “Merchant” includes the Shipper, Consignee, Receiver, Holder of the
                                      28               Bill of Lading, Owner of the cargo or Person entitled to the possession
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                                                                    PLAINTIFF APL CO. PTE LTD’S COMPLAINT
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                                      1          of the cargo or having a present or future interest in the Goods and the
                                                 servants and agents of any of these, all of whom shall be jointly and
                                      2
                                                 severally liable to the Carrier for the payment of all Freight, and for
                                      3          the performance of the obligations of any of them under this Bill of
                                                 Lading.
                                      4
                                                 ...
                                      5
                                                 11.     NOTIFICATION AND DELIVERY
                                      6
                                                 ...
                                      7
                                                 (2) The Merchant shall take delivery of the Goods within the time
                                      8
                                                 provided for in the Carrier’s Applicable Tariff (see Clause 2). If the
                                      9          Merchant fails to do so the Carrier shall be entitled, without notice, to
                                                 unpack the Goods if packed in Containers and / or to store the Goods
                                     10
                                                 ashore, afloat, in the open or under cover, at the sole risk of the
                                     11          Merchant. Such storage shall constitute due delivery hereunder, and
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                                                 thereupon the liability of the Carrier in respect of the Goods stored as
                                     12
                                                 aforesaid shall cease, and the costs of such storage (if paid or payable
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                                     13          by the Carrier or any agent or Sub-Contractor of the Carrier) shall
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                                                 forthwith upon demand be paid by the Merchant to the Carrier.
                                     14
                                                 (3) If, whether by act or omission, the Merchant directly or indirectly
                                     15
                                                 prevents, delays or hinder the discharge or the delivery of the Goods,
                                     16          any costs, expenses or liability so resulting shall be for its full account.
                                     17          (4) If the Merchant fails to take delivery of the Goods within ten days
                                                 of delivery becoming due under Clause 11 (2), or if in the opinion of
                                     18
                                                 the Carrier they are likely to deteriorate, decay, become worthless or
                                     19          incur charges whether for storage or otherwise in excess of their value,
                                                 the Carrier may, without prejudice to any other rights which he may
                                     20
                                                 have against the Merchant, without notice and without any
                                     21          responsibility whatsoever attaching to him, sell, destroy or dispose of
                                                 the Goods and apply any proceeds of sale in reduction of the sums due
                                     22
                                                 to the Carrier from the Merchant in respect of this Bill of Lading.
                                     23
                                                 …
                                     24
                                                 13.    LIEN
                                     25
                                                 The Carrier, its servants or agents shall also have a lien on and the
                                     26          right to sell whether privately or by public auction, the Goods carried
                                                 under this Bill of Lading and any documents relating thereto, for all
                                     27
                                                 sums including Freight and charges including but not limited to
                                     28          primage, deadfreight pre-carriage and/or inland Carriage whatsoever,
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                                      1          demurrage, container demurrage and storage charges, detention
                                                 charges, salvage, general average contribution, due and outstanding,
                                      2
                                                 which are for the account of the Goods or any other Contracts for the
                                      3          Carriage of Goods concluded between the Carrier, its servants or
                                                 agents and the Merchant, at any time where such sums or Freights
                                      4
                                                 remains due and unpaid; and for the costs and expenses of exercising
                                      5          such lien and/or of such sale.
                                      6          If the goods are unclaimed during a reasonable time, or whenever in
                                                 the Carrier’s opinion, the Goods are likely to become deteriorated,
                                      7
                                                 decayed or worthless, the Carrier may, at its discretion without
                                      8          responsibility whatsoever, auction, sell, abandon or otherwise dispose
                                                 of such Goods solely at the risk and expense of the Merchant. Nothing
                                      9
                                                 in this Clause shall prevent the Carrier from recovering from the
                                     10          Merchant the difference between the amount due to him by the
                                                 Merchant and the amount realised by the exercise of the rights given to
                                     11
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                                                 the Carrier under this Clause.
                                     12
                                                 26.    SHIPPER’S / MERCHANT’S RESPONSIBILITY
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                                     13
         Irvine, CA 92614




                                                 (1) All of the Persons coming within the definition of Merchant in
                                     14          Clause 1 shall be jointly and severally liable to the Carrier for the due
                                                 fulfilment of all obligations undertaken by the Merchant in this Bill of
                                     15
                                                 Lading, and remain so liable throughout Carriage notwithstanding their
                                     16          having transferred this Bill of Lading and/or title to the Goods to any
                                                 third party. Such liability shall include but not be limited to court
                                     17
                                                 costs, expenses and attorney’s fees incurred in collecting charges and
                                     18          sums due to the Carrier.
                                     19          (2) The Shipper warrants to the Carrier that the particulars relating to
                                                 the Goods as set out overleaf have been checked by the Shipper on
                                     20
                                                 receipt of this Bill of Lading and that such particulars, and any other
                                     21          particulars furnished by or on behalf of the Shipper, are adequate and
                                                 correct. The Shipper also warrants that the Goods are lawful Goods
                                     22
                                                 and contain no contraband.
                                     23
                                                 (3) The Merchant shall indemnify the Carrier against all loss, damage,
                                     24          fines and expenses arising or resulting from any breach of any of the
                                                 warranties in Clause 26 (2) hereof or from any other cause in
                                     25
                                                 connection with the Goods for which the Carrier is not responsible.
                                     26
                                     27
                                     28
                                                                             -11-
                                                             PLAINTIFF APL CO. PTE LTD’S COMPLAINT
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                                      1         16.     Between July 7, 2019 and September 20, 2019, the Containers for
                                      2   Shipments 1 through 37 arrived and were discharged in Jakarta, Indonesia and
                                      3   made available for collection.
                                      4         17.     Due to TDR, ANDPLASTIC, and ANDPLASTIC CO.’s failure to
                                      5   comply with local import regulations, the Containers were seized by local
                                      6   governmental authorities and the Containers remain idle in Jakarta, Indonesia.
                                      7         18.     To date, TDR, ANDPLASTIC, and ANDPLASTIC CO.C have failed
                                      8   to take delivery of the Containers and/or provide any other shipping instructions
                                      9   and/or comply with local import regulations for the Containers in Shipments 1
                                     10   through 37.
                                     11         19.     Accordingly, the Containers for Shipments 1 through 37 remain idle
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                                     12   at the marine terminal in Jakarta, Indonesia, thereby accruing various daily and
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                                     13   other charges including detention and demurrage.
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                                     14         20.     Having affected delivery of the Containers to Jakarta, Indonesia, APL
                                     15   fully performed all of its obligations under the APL Bills of Lading.
                                     16         21.     As a result of TDR, ANDPLASTIC, and ANDPLASTIC CO.’s failure
                                     17   to take delivery of the Containers, and/or provide any other shipping instructions,
                                     18   and/or comply with local import regulations, APL has incurred damages, liabilities,
                                     19   charges, expenses, fees and costs for detention, demurrage, and destruction.
                                     20         22.     Under the terms of the APL Bills of Lading and/or applicable tariffs,
                                     21   TDR, ANDPLASTIC, and ANDPLASTIC CO. are obligated to pay these costs,
                                     22   damages, and expenses due and owing to APL.
                                     23         23.     As of July 6, 2020, these costs, damages and expenses due and owing
                                     24   by Defendants to APL total US$1,981,043. These costs, damages and expenses
                                     25   continue to accrue while the Containers remains idle.
                                     26         24.     APL fully performed all of its obligations under the APL Bills of
                                     27   Lading. TDR, ANDPLASTIC, and ANDPLASTIC CO. received and benefited
                                     28   from the transportation services provided by APL, and are responsible for payment
                                                                                  -12-
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                                      1   of all these various damages, expenses and costs relating to the idle containers for
                                      2   Shipments 1 through 37.
                                      3                          FIRST CAUSE OF ACTION
                                      4                         (For Breach of Maritime Contract)
                                      5         25.     APL refers to and incorporates by reference as though fully set
                                      6   forth at length herein its allegations in paragraphs 1 through 24 above.
                                      7         26.     APL transported and carried the Containers for Shipments 1
                                      8   through 37 at the request and for the benefit of TDR, ANDPLASTIC, and
                                      9   ANDPLASTIC CO., in accordance with the applicable terms and conditions
                                     10   of the APL Bills of Lading.
                                     11         27.     APL fully performed all of its obligations under the APL Bills
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                                     12   of Lading and carried the Containers from various United States and Puerto
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                                     13   Rico ports and successfully discharged the Containers in Jakarta, Indonesia.
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                                     14         28.     Under the applicable terms and conditions of the APL Bills of
                                     15   Lading and applicable law, TDR, ANDPLASTIC, and ANDPLASTIC CO.
                                     16   were required to provide shipping instructions and/or accept delivery, and/or
                                     17   comply with local import regulations for the Containers within the time
                                     18   provided for in APL’s Bills of Lading, and agreed to be responsible and
                                     19   liable for any and all damages, liabilities, charges, costs, expenses and fees
                                     20   arising from or resulting from its failure to provide shipping instructions,
                                     21   and/or comply with local import regulations, and/or accept delivery of the
                                     22   Containers.
                                     23         29.     Under the applicable terms and conditions of the APL Bills of
                                     24   Lading and applicable law, TDR, ANDPLASTIC, and ANDPLASTIC CO.
                                     25   agreed to be liable and responsible for any and all detention, demurrage,
                                     26   destruction and other charges due under the APL Bills of Lading.
                                     27         30.     TDR, ANDPLASTIC, and ANDPLASTIC CO. breached the
                                     28   applicable terms and conditions of the APL Bills of Lading by failing to
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                                                                  PLAINTIFF APL CO. PTE LTD’S COMPLAINT
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                                      1   provide shipping instructions, and/or comply with local import regulations,
                                      2   and/or accept delivery of the Containers, and by failing to pay APL the
                                      3   damages, liabilities, detention, demurrage, destruction, and other related
                                      4   expenses and fees arising from their breach or breaches of the applicable
                                      5   terms and conditions of the APL Bills of Lading.
                                      6           31.   As a proximate cause of TDR, ANDPLASTIC, and
                                      7   ANDPLASTIC CO.’s breach or breaches of the applicable terms and
                                      8   conditions of the APL Bills of Lading, breach of warranty, and the matters
                                      9   set forth herein, APL has incurred, and TDR, ANDPLASTIC, and
                                     10   ANDPLASTIC CO. are jointly and severaly liable to APL for, damages in
                                     11   the amount exceeding $1,981,043.        These costs, damages and expenses
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                                     12   continue to accrue while the Containers for Shipments 1 through 37 remain
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                                     13   idle.
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                                     14                         SECOND CAUSE OF ACTION
                                     15                         (Money Due Under Marine Tariff)
                                     16           32.   APL refers to and incorporates by reference as though fully set
                                     17   forth at length herein its allegations in paragraphs 1 through 31 above.
                                     18           33.   APL transported and carried the Containers for Shipments 1
                                     19   through 37 at the request and for the benefit of TDR, ANDPLASTIC, and
                                     20   ANDPLASTIC CO., and in accordance with the terms and conditions of the
                                     21   APL Bills of Lading and subject to the rates and charges in its tariffs on file
                                     22   with the Federal Maritime Commission.
                                     23           34.   Under the said tariffs, APL is required to collect and is entitled
                                     24   to recover from TDR, ANDPLASTIC, and ANDPLASTIC CO., and TDR,
                                     25   ANDPLASTIC, and ANDPLASTIC CO. are required to pay APL, all
                                     26   unpaid demurrage, detention, destruction, and any other damages, liabilities,
                                     27   charges, penalties, costs, expenses and fees arising from the carriage of the
                                     28   Container, as well as TDR, ANDPLASTIC, and ANDPLASTIC CO.’s
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                                      1   failure to provide required shipping instructions, and/or comply with local
                                      2   import regulations, and/or accept delivery of the Containers.
                                      3         35.    Despite demand for payment, TDR, ANDPLASTIC, and
                                      4   ANDPLASTIC CO. have failed to pay APL amounts due under the tariffs
                                      5   and tariff compensation is due, owing and unpaid to APL from TDR,
                                      6   ANDPLASTIC, and ANDPLASTIC CO. in an amount exceeding
                                      7   $1,981,043. Additional charges continue to accrue in accordance with the
                                      8   terms of said tariffs, together with attorneys’ fees, costs and expenses
                                      9   incurred in collecting said charges.
                                     10                          THIRD CAUSE OF ACTION
                                     11                                   (Negligence)
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                                     12         36.    APL refers to and incorporates by reference as though fully set
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                                     13   forth at length herein its allegations in paragraphs 1 through 35 above.
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                                     14         37.    At all material times herein, TDR, ANDPLASTIC, and
                                     15   ANDPLASTIC CO. owed APL a legal duty to exercise due care to provide
                                     16   required shipping instructions, and/or comply with local import regulations,
                                     17   and/or to accept delivery of the Containers for Shipments 1 through 37 in
                                     18   Jakarta, Indonesia.
                                     19         38.    The legal duty of TDR, ANDPLASTIC, and ANDPLASTIC
                                     20   CO. to APL arose because TDR, ANDPLASTIC, and ANDPLASTIC CO.
                                     21   are parties to the APL Bills of Lading.
                                     22         39.    The legal duties of TDR, ANDPLASTIC, and ANDPLASTIC
                                     23   CO. to APL also arose independently of the APL Bills of Lading because of
                                     24   many factors, including, without limitation, the foreseeability of harm to
                                     25   APL from its acts and omissions, the degree of certainty that APL suffered
                                     26   injuries, the closeness of the connection between TDR, ANDPLASTIC, and
                                     27   ANDPLASTIC CO.’s conduct and the injury suffered.
                                     28
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                                      1         40.    TDR, ANDPLASTIC, and ANDPLASTIC CO. breached their
                                      2   duty of care by, inter alia, failing to provide required shipping instructions,
                                      3   and/or comply with local import regulations, and/or accept delivery of the
                                      4   Containers in Jakarta, Indonesia, or otherwise arranging for the Containers’
                                      5   delivery.
                                      6         41.    As   a    proximate   result   of   the   negligence   of     TDR,
                                      7   ANDPLASTIC, and ANDPLASTIC CO., APL has incurred, and TDR,
                                      8   ANDPLASTIC, and ANDPLASTIC CO. are liable to APL for, additional
                                      9   freight, demurrage, detention, destruction, liabilities, charges, penalties,
                                     10   costs, expenses and fees in an amount exceeding $1,981,043, plus any
                                     11   additional damages and costs as they continue to accrue.
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                                     12                          FOURTH CAUSE OF ACTION
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                                     13       (FOR WORK AND LABOR PERFORMED/QUANTUM MERUIT)
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                                     14         42.    APL refers to and incorporates by reference as though fully set
                                     15   forth at length herein its allegations in paragraphs 1 through 41 above.
                                     16         43.    In or about July 7, 2019, and continuing thereafter, TDR,
                                     17   ANDPLASTIC, and ANDPLASTIC CO. became indebted to APL for the
                                     18   work and labor performed by APL at the request and for the benefit of TDR,
                                     19   ANDPLASTIC, and ANDPLASTIC CO., for which TDR, ANDPLASTIC,
                                     20   and ANDPLASTIC CO. agreed to pay APL.
                                     21         44.    Despite     due    demand,        TDR,    ANDPLASTIC,          and
                                     22   ANDPLASTIC CO., and each of them, owe APL an amount exceeding
                                     23   $1,981,043 for said work and labor performed and/or APL is entitled to
                                     24   recover the value of said work and labor pursuant to the doctrine of quantum
                                     25   meruit.
                                     26                           FIFTH CAUSE OF ACTION
                                     27                          (FOR DECLARATORY RELIEF)
                                     28
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                                      1           45.   APL refers to and incorporates by reference as though fully set
                                      2   forth at length herein its allegations in paragraphs 1 through 44 above.
                                      3           46.   There is an actual controversy between APL on one hand and
                                      4   TDR, ANDPLASTIC, and ANDPLASTIC CO. on the other regarding the
                                      5   legal rights and duties of the parties with respect to the cargo in the
                                      6   Containers. APL contends that TDR, ANDPLASTIC, and ANDPLASTIC
                                      7   CO. are responsible and liable to APL for any and all damages, detention,
                                      8   demurrage, liabilities, charges, penalties, expenses, costs and fees arising
                                      9   from the carriage of the cargo in the Containers and/or TDR,
                                     10   ANDPLASTIC, and ANDPLASTIC CO.’s failure provide required shipping
                                     11   instructions, failure to comply with local import regulations, failure to accept
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                                     12   delivery of the Containers, and/or failure to pay freight and other charges.
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                                     13           47.   APL is informed and believes and thereupon alleges that TDR,
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                                     14   ANDPLASTIC, and ANDPLASTIC CO. deny they are responsible and
                                     15   liable to APL for the aforesaid damages, detention, demurrage, liabilities,
                                     16   charges, penalties, expenses, costs and fees, and deny and dispute in some
                                     17   manner the contentions of APL.
                                     18           48.   APL seeks a declaration of the rights and liabilities of APL and
                                     19   TDR, ANDPLASTIC, and ANDPLASTIC CO. pursuant to 28 U.S.C. §
                                     20   2201.
                                     21                                     PRAYER
                                     22           WHEREFORE, Plaintiff APL prays for judgment against TDR,
                                     23   ANDPLASTIC, and ANDPLASTIC CO. as follows:
                                     24           1.    That the Court order judgment in favor of APL and against the
                                     25   TDR, ANDPLASTIC, and ANDPLASTIC CO., jointly and severally, in an
                                     26   amount not less than $1,981,043 and for any and all additional freight,
                                     27   demurrage, detention, destruction, liabilities, charges, penalties, other costs,
                                     28   expenses and fees caused by TDR, ANDPLASTIC, and ANDPLASTIC
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                                      1   CO.’s breach or breaches of the APL Bills of Lading and/or applicable
                                      2   tariffs and/or negligence, for all amounts due under APL’s tariffs, as well
                                      3   any additional damages and costs that continue to accrue at an amount to be
                                      4   established at trial;
                                      5          2.     That the Court award APL its attorneys’ fees, costs and
                                      6   expenses incurred as a result of TDR, ANDPLASTIC, and ANDPLASTIC
                                      7   CO.’s breach or breaches and/or in collecting the sums due from TDR,
                                      8   ANDPLASTIC, and ANDPLASTIC CO.;
                                      9          3.     That the Court award APL interest on all of the above as well as
                                     10   its costs of suit;
                                     11          4.     That the Court declare the rights and liabilities of the Parties,
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                                     12   and
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                                     13          5.     That the Court award such other and further relief as the Court
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                                     14   deems just and proper.
                                     15
                                     16   Dated: July 6, 2020                         GORDON REES SCULLY
                                                                                      MANSUKHANI, LLP
                                     17
                                     18                                               By: /s/ James A. Marissen
                                     19                                                   James A. Marissen
                                                                                          Rachel A. Weitzman
                                     20                                                   Attorneys for Plaintiff
                                     21                                                   APL CO. PTE LTD
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